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                              UNITED STATES DISTRICT COURT

                                 DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                        :
v.                                              :       CRIM. NO. 3:19-MJ-1708 (RMS)
AHMAD ELSHAZLY                                      :    May 4, 2020




                             MOTION TO DISMISS COMPLAINT



       Pursuant to the Speedy Trial Act, 18 U.S.C. § 3161, the government was required to obtain

an indictment by April 30, 2020, if it wished to maintain this action against Mr. Elshazly. Because

the government has not done so, and because the government’s motion for an extension of the

indictment deadline does not satisfy the requirements of § 3161, Defendant now moves to dismiss

the complaint against Mr. Elshazly pursuant to 18 U.S.C. § 3162(a)(1) and Federal Rule of Criminal

Procedure 48.

       The grounds for this motion are further articulated in the accompanying memorandum of

law.




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                                              Respectfully submitted,

                                              THE DEFENDANT,
                                              Ahmad Elshazly

                                              OFFICE OF THE FEDERAL DEFENDER

Dated: May 4, 2020                            /s/ James P. Maguire
                                              James P. Maguire
                                              Assistant Federal Defender
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                                              New Haven, CT 06510
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                                   CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on May 4, 2020, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access
this filing through the Court’s CM/ECF System.
                                                /s/ James P. Maguire
                                                James P. Maguire




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